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                Exhibit 21
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MESSAGE FROM PRESIDENT FUCHS - OUTSIDE ACTIVITIES BY
UF EMPLOYEES INVOLVING LITIGATION IN WHICH THE STATE
OF FLORIDA IS A PARTY
President Kent Fuchs
November 5, 2021

Dear Campus Community,


As shared on Monday, I am forming a task force that will review UF's practice regarding requests for
approval of outside activities involving potential conflicts of interest and conflicts of commitment. In
particular, the task force will make a recommendation to me on how UF should respond when
employees request approval to serve as expert witnesses in litigation in which their employer, the state
of Florida, is a party. I'm asking the task force to provide me with a preliminary recommendation by
Monday, November 29.


The following have agreed to serve on the task force:


    • Joe Glover - Provost and Chief Academic Officer, Task Force Chair
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    • Hub Brown - Dean, College of Journalism and Communications

    • Clay Calvert - Professor of Law and Professor of Journalism and Communications, Brechner
    Eminent Scholar and Director, Marion B. Brechner First Amendment Project

       Terra DuBois - Chief Compliance, Ethics, & Privacy Officer, UF

    • John Kraft - Professor and Susan Cameron Chair of International Business, Warrington College of
    Business

    - Laura Rosenbury - Dean, Levin College of Law




Without prejudice regarding the task force recommendations, I have also asked UF's Conflicts of Interest
Office to reverse the decisions on recent requests by UF employees to serve as expert witnesses in
litigation in which the state of Florida is a party and to approve the requests regardless of personal
compensation, assuming the activity is on their own time without using university resources.


I look forward to reporting back on the task force recommendations and my decision on how UF will
apply the Conflict of Interest and Conflict of Commitment policy in future requests for approval of similar
outside activity.


Warm regards,
Kent


Kent Fuchs
President
University of Florida




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